PS 42
(R:v 7193]

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United States DistrictCourt 05 JUH m P-H b 0

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Western District of Tennessee

United States of America

VS

\_HVW\_/\_/

Fred Kratt Case No. 05~20080-01

CONSENT TO MODIFY CONDITIONS OF RELEASE

l, Fred Kratt, have discussed with Stephanie K. Denton, Preti'ial Services Of`ficer, modification
of my release condition as follows;

Defendant is allowed to travel outside of the WD/TN for employment on an unrestricted basis.

    
 

All other conditions of release will remain in effect.
dif`ication of` my release conditions and agree to abide by this modification

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Signa!Lr/e of Defendant Date Pretr?($ervices Ofi`icer Date

l have reviewed the conditions with my client and concur that this modification is appropriate

H/Bmé/H fsia/hmw w '1/0 a

Signature of Det`ense Co\znsel Date

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The above modification of conditions of release is ordered, to be effective on .

[ ] The above modification of conditions of release is n___ot ordered

MC/M/ ` <,_/io/pk`

 

Signati.ire of Judicial Of`ficer Date
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Notice of Distribution

This notice confirms a copy of` the document docketed as number 42 in
case 2:05-CR-20080 was distributed by f`aX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

